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                      IN TIIE UM TED STATES DISTRICT COURT
                     FOR TH E W ESTERN DISTRICT OF W RGINIA
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                              H ARRISONBURG DIVISION                         JU         oc
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 H OW AN PROPERTIES,LC,

        Plainti
              f;
 V.                                                      CivilAction No.5:18CV00098

 THE W OODW ORKEFS SHOPPE,lNC.,
       De# ndant.
                              STIPIJLA TIO N O F DISM ISSA L


        OntM sday comesthetmdersigned cotmselforPlaintiff,Howan Properties,LC,andwith
                                                                    '
                                .

 theconsentofDefendant,TheW oodworkersShoppe,Inc.,each by itsundersigned cotmsel,and

 herebyadvisestheCourtptlrsuanttoRule41(a)(1)(A)(ii)oftheFederalRulesofCivil
 Procedure,thepndiesap eethatPlaintiffscivilaction,in itsentirety,isto be dismissed with

 prejudiceuponthefilingofthisStipulationofDismissalw1t11theCourt,witheachpartytobear
 itsown attom ey'sfeesand costs.

        Dated:M arch 21,2019



 W E ASK FOR THIS:




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Case 5:18-cv-00098-MFU-JCH Document 16 Filed 03/25/19 Page 2 of 2 Pageid#: 109




   /sN ichaelW .Shgp
                  - .


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 CounselforPlaintt

   /s/M arcA .Pedtz               '
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 RachelD.G.Horvath,Esq.
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 maperitz@morinandbarkley.com
 rhorvath@morinandbarldey.com
 CounselforDefendant


       IT IS HEREBY ORDERED thattheStipulation ofDis'
                                                    m issalisapproved. Theentire

 action isherebydismissedwithprejudice.
       Entyredthis       $      dayof            *                        ,2019.

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                                            M ichaelF.Urban '
                                            United States lstrictJudge




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